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IN THE UNITED STATES DISTRlCT COURT
F()R THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
RAYMOND ANDREW CLARK, )
Plaintiff, §
vs. § No. 04-1174 T/An
CHARLES TRAUGHBER, et al., §
Defendants. §

 

ORDER DENYING MOTION FOR LEAVE TO FILE
SUPPLEMENTAL COMPLAINT

 

Before the Court is Plaintiff’ s Motion for Leave to File Supplemental Complaint filed on
l\/lay 9, 2005. For the reasons set forth be]oW, the Motion is DENIED Without prejudice

F ederal Rule of Civil Procedure S(d) provides that “[a]ll papers after the complaint
required to be served upon a party, together With a certificate of service, must be filed With the
court Within a reasonable time after service.” Fed. R. Civ. P. S(d). While Plaintiff forwarded a
copy of his motion to Mr. C. Edward Scudder, Jr,, Plaintiff did not forward a copy of this motion
to Defendants’ attorney, Mr. Bradley W. Flippin. Because Plaintiff did not comply With Fed.
R. Civ. P. S(d), his Motion should be denied.

Plaintiff also failed to file a Certificate cf Consultation as required by Local Rule
T.Z(a)(l)(B) of the Local Rules of the United States District Court for the Western District of
Tennessee. Local Rule 7.2(a)(1)(B) provides:

Consultation by Counse]. All motions, including discovery motions, but not
including motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be

Thls document entered on the docket hect_ in compliance
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accompanied by a certificate of counsel (with one copy) affirming that, after
consultation between the parties to the controversy, they are unable to reach an
accord as to all issues or that all other parties are in agreement with the action
requested by the motion. Fai]ure to file an accompanying certificate of
consultation may be deemed good grounds for denying the motion.

The certificate must contain the names of participating counsel and the date and
manner of consultation The burden Will be on counsel filing the motion to
initiate the conference upon giving reasonable notice of the time, place and
specific nature of the conference If an opposing counsel or party refuses to
cooperate in the conduct of a conference, counsel must file certificate to that
effect, setting out counsel’s efforts to comply with this rule.

Therefore, because Plaintiff did not serve a copy of the instant motion on Defendants’ counsel
and because Plaintiff did not comply With Local Rule 7.2, the motion is DENIED without
prejudice Plaintiff is welcome to re-file the instant motion after comply With Fed. R. Civ. P.
5(d) and the Local Rules.

IT IS SO ORDERED.

M

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

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DATE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 1:04-CV-01174 was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

Bradley W. Flippin

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Honorable J ames Todd
US DISTRICT COURT

